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                            Dr. Homer D. Venters
                      10 ½ Jefferson St., Port Washington, NY, 11050
                        hventers@gmail.com, Phone: 646-734-5994

    ______________________________________________________    __
    HEALTH ADMINISTRATOR          PHYSICIAN      EPIDEMIOLOGIST

                                     Professional Profile
       International leader in provision and improvement of health services to patients with
        criminal justice involvement.
       Innovator in linking care of the incarcerated to Medicaid, health homes, DSRIPs.
       Successful implementer of nations’ first electronic health record, performance
        dashboards and health information exchange among pre-trial patients.
       Award winning epidemiologist focused on the intersection of health, criminal justice
        and human rights in the United States and developing nations.
       Human rights leader with experience using forensic science, epidemiology and public
        health methods to prevent and document human rights abuses.

                                  Professional Experience
    Medical/Forensic Expert, 3/2016-present
    o Appointed to Connecticut State Prison COVID monitoring panel.
    o Review COVID-19 policies and procedures in detention settings including in-person
      inspections of;
          o MDC Brooklyn (BOP), NY
          o MCC Manhattan (BOP), NY
          o FCI Danbury (BOP), CT
          o Cook County Jail, IL
          o Broome County Jail, IL
          o Sullivan County Jail, NY
          o Shelby County Jail, TN
          o Farmville Detention Center (ICE), VA
          o Lompoc Prison (BOP), CA
          o Southern Mississippi Correctional Facility, MS
          o Central Mississippi Correctional Facility, MS

    o   Independent correctional health monitor (Santa Barbara County, CA)
    o   Conduct analysis of health services and outcomes in detention settings.
    o   Conduct site inspections and evaluations in detention settings.
    o   Produce expert reports, testimony regarding detention settings.

    President, Community Oriented Correctional Health Services (COCHS), 1/1/2020-
    4/30/20.
    o Lead COCHS efforts to provide technical assistance, policy guidance and research
       regarding correctional health and justice reform.
    o Oversee operations and programmatic development of COCHS
    o Serve as primary liaison between COCHS board, funders, staff and partners.
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    Senior Health and Justice Fellow, Community Oriented Correctional Health Services
    (COCHS), 12/1/18-12/31/2018
    o Lead COCHS efforts to expand Medicaid waivers for funding of care for detained
       persons relating to Substance Use and Hepatitis C.
    o Develop and implement COCHS strategy for promoting non-profit models of
       diversion and correctional health care.


    Director of Programs, Physicians for Human Rights, 3/16-11/18.
    o Lead medical forensic documentation efforts of mass crimes against Rohingya and
       Yazidi people.
    o Initiate vicarious trauma program.
    o Expand forensic documentation of mass killings and war crimes.
    o Develop and support sexual violence capacity development with physicians, nurses
       and judges.
    o Expand documentation of attacks against health staff and facilities in Syria and
       Yemen.

    Chief Medical Officer/Assistant Vice President, Correctional Health Services, NYC
           Health and Hospitals Corporation 8/15-3/17.
    o Transitioned entire clinical service (1,400 staff) from a for-profit staffing company
       model to a new division within NYC H + H.
    o Developed new models of mental health and substance abuse care that significantly
       lowered morbidity and other adverse events.
    o Connected patients to local health systems, DSRIP and health homes using
       approximately $5 million in external funding (grants available on request).
    o Reduced overall mortality in the nation’s second largest jail system.
    o Increased operating budget from $140 million to $160 million.
    o Implemented nation’s first patient experience, provider engagement and racial
       disparities programs for correctional health.

    Assistant Commissioner, Correctional Health Services, New York Department of
           Health and Mental Hygiene, 6/11-8/15.
    o Implemented nation’s first electronic medical record and health information exchange
       for 1,400 staff and 75,000 patients in a jail.
    o Developed bilateral agreements and programs with local health homes to identify
       incarcerated patients and coordinate care.
    o Increased operating budget of health service from $115 million to $140 million.
    o Established surveillance systems for injuries, sexual assault and mental health that
       drove new program development and received American Public Health Association
       Paper of the Year 2014.
    o Personally care for and reported on over 100 patients injured during violent
       encounters with jail security staff.


    Medical Director, Correctional Health Services, New York Department of Health and
          Mental Hygiene, 1/10-6/11.
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    o Directed all aspects of medical care for 75,000 patients annually in 12 jails, including
      specialty, dental, primary care and emergency response.
    o Direct all aspects of response to infectious outbreaks of H1N1, Legionella,
      Clostridium Difficile.
    o Developed new protocols to identify and report on injuries and sexual assault among
      patients.

    Deputy Medical Director, Correctional Health Services, New York Department of
          Health and Mental Hygiene, 11/08-12/09.
    o Developed training program with Montefiore Social internal medicine residency
       program.
    o Directed and delivered health services in 2 jails.

    Clinical Attending Physician, Bellevue/NYU Clinic for Survivors of Torture, 10/07-
           12/11.

    Clinical Attending Physician, Montefiore Medical Center Bronx NY, Adult Medicine,
           1/08-11/09.

                                   Education and Training
    Fellow, Public Health Research, New York University 2007-2009. MS 6/2009
    Projects: Health care for detained immigrants, Health Status of African immigrants in
    NYC.
    Resident, Social Internal Medicine, Montefiore Medical Center/Albert         Einstein
           University7/2004- 5/2007.
    M.D., University of Illinois, Urbana, 12/2003.
    M.S. Biology, University of Illinois, Urbana, 6/03.
    B.A. International Relations, Tufts University, Medford, MA, 1989.

                            Academic Appointments, Licensure
    Clinical Associate Professor, New York University College of Global Public Health,
    5/18-present.

    Clinical Instructor, New York University Langone School of Medicine, 2007-2018.

    M.D. New York (2007-present).

    Print articles and public testimony
    Oped: Four ways to protect our jails and prisons from coronavirus. The Hill 2/29/20.

    Oped: It’s Time to Eliminate the Drunk Tank. The Hill 1/28/20.

    Oped: With Kathy Morse. A Visit with my Incarcerated Mother. The Hill 9/24/19.

    Oped: With Five Omar Muallim-Ak. The Truth about Suicide Behind Bars is Knowable.
    The Hill 8/13/19.
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    Oped: With Katherine McKenzie. Policymakers, provide adequate health care in prisons
    and detention centers. CNN Opinion, 7/18/19.
    Oped: Getting serious about preventable deaths and injuries behind bars. The Hill, 7/5/19.

    Testimony: Access to Medication Assisted Treatment in Prisons and Jails, New York
    State Assembly Committee on Alcoholism and Drug Abuse, Assembly Committee on
    Health, and Assembly Committee on Correction. NY, NY, 11/14/18.

    Oped: Attacks in Syria and Yemen are turning disease into a weapon of war, STAT News,
    7/7/17.

    Testimony: Connecticut Advisory Committee to the U.S. Commission on Civil Rights:
    Regarding the use of solitary confinement for prisoners. Hartford CT, 2/3/17.

    Testimony: Venters HD, New York Advisory Committee to the U.S. Commission on
    Civil Rights: Regarding the use of solitary confinement for juveniles in New York. July
    10, 2014. NY NY.

    Testimony: New York State Assembly Committee on Correction with the Committee on
    Mental Health: Regarding Mental Illness in Correctional Settings. November 13, 2014.
    Albany NY.
    Testimony: New York State Assembly Committee on Correction with the Committee on
    Mental Health: Regarding Mental Illness in Correctional Settings. November 13, 2014.
    Albany NY.

    Oped: Venters HD and Keller AS, The Health of Immigrant Detainees. Boston Globe,
    April 11, 2009.

    Testimony: U.S. House of Representatives, House Judiciary Committee’s Subcommittee
    on Immigration, Citizenship, Refugees, Border Security, and International Law: Hearing
    on Problems with Immigration Detainee Medical Care, June 4, 2008.


                                   Peer Reviewed Publications
    Parmar PK, Leigh J, Venters H, Nelson T. Violence and mortality in the Northern Rakhine State
    of Myanmar, 2017: results of a quantitative survey of surviving community leaders in
    Bangladesh. Lancet Planet Health. 2019 Mar;3(3):e144-e153.

    Venters H. Notions from Kavanaugh hearings contradict medical facts. Lancet. 10/5/18.

    Taylor GP, Castro I, Rebergen C, Rycroft M, Nuwayhid I, Rubenstein L, Tarakji A, Modirzadeh
    N, Venters H, Jabbour S. Protecting health care in armed conflict: action towards accountability.
    Lancet. 4/14/18.

    Katyal M, Leibowitz R, Venters H. IGRA-Based Screening for Latent Tuberculosis Infection in
    Persons Newly Incarcerated in New York City Jails. J Correct Health Care. 2018 4/18.
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    Harocopos A, Allen B, Glowa-Kollisch S, Venters H, Paone D, Macdonald R. The Rikers Island
    Hot Spotters: Exploring the Needs of the Most Frequently Incarcerated.
    J Health Care Poor Underserved. 4/28/17.

    MacDonald R, Akiyama MJ, Kopolow A, Rosner Z, McGahee W, Joseph R, Jaffer M, Venters
    H. Feasibility of Treating Hepatitis C in a Transient Jail Population.
    Open Forum Infect Dis. 7/7/18.

    Siegler A, Kaba F, MacDonald R, Venters H. Head Trauma in Jail and Implications for Chronic
    Traumatic Encephalopathy. J Health Care Poor and Underserved. In Press (May 2017).

    Ford E, Kim S, Venters H. Sexual abuse and injury during incarceration reveal the need for re-
    entry trauma screening. Lancet. 4/8/18.

    Alex B, Weiss DB, Kaba F, Rosner Z, Lee D, Lim S, Venters H, MacDonald R. Death After Jail
    Release. J Correct Health Care. 1/17.

    Akiyama MJ, Kaba F, Rosner Z, Alper H, Kopolow A, Litwin AH, Venters H, MacDonald R.
    Correlates of Hepatitis C Virus Infection in the Targeted Testing Program of the New York City
    Jail System. Public Health Rep. 1/17.

    Kalra R, Kollisch SG, MacDonald R, Dickey N, Rosner Z, Venters H. Staff Satisfaction, Ethical
    Concerns, and Burnout in the New York City Jail Health System. J Correct Health Care. 2016
    Oct;22(4):383-392.


    Venters H. A Three-Dimensional Action Plan to Raise the Quality of Care of US Correctional
    Health and Promote Alternatives to Incarceration. Am J Public Health. April 2016.104.

    Glowa-Kollisch S, Kaba F, Waters A, Leung YJ, Ford E, Venters H. From Punishment to
    Treatment: The “Clinical Alternative to Punitive Segregation” (CAPS) Program in New York
    City Jails. Int J Env Res Public Health. 2016. 13(2),182.

    Jaffer M, Ayad J, Tungol JG, MacDonald R, Dickey N, Venters H. Improving Transgender
    Healthcare in the New York City Correctional System. LGBT Health. 2016 1/8/16.

    Granski M, Keller A, Venters H. Death Rates among Detained Immigrants in the United States.
    Int J Env Res Public Health. 2015. 11/10/15.

    Michelle Martelle, Benjamin Farber, Richard Stazesky, Nathaniel Dickey, Amanda Parsons,
    Homer Venters. Meaningful Use of an Electronic Health Record in the NYC Jail System. Am J
    Public Health. 2015. 8/12/15.

    Fatos Kaba, Angela Solimo, Jasmine Graves, Sarah Glowa-Kollisch, Allison Vise, Ross
    MacDonald, Anthony Waters, Zachary Rosner, Nathaniel Dickey, Sonia Angell, Homer Venters.
    Disparities in Mental Health Referral and Diagnosis in the NYC Jail Mental Health Service. Am J
    Public Health. 2015. 8/12/15.

    Ross MacDonald, Fatos Kaba, Zachary Rosner, Alison Vise, Michelle Skerker, David Weiss,
    Michelle Brittner, Nathaniel Dickey, Homer Venters. The Rikers Island Hot Spotters. Am J
    Public Health. 2015. 9/17/15.
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    Selling Molly Skerker, Nathaniel Dickey, Dana Schonberg, Ross MacDonald, Homer Venters.
    Improving Antenatal Care for Incarcerated Women: fulfilling the promise of the Sustainable
    Development      Goals.    Bulletin    of    the   World      Health   Organization.2015.

    Jasmine Graves, Jessica Steele, Fatos Kaba, Cassandra Ramdath, Zachary Rosner, Ross
    MacDonald, Nathanial Dickey, Homer Venters. Traumatic Brain Injury and Structural Violence
    among Adolescent males in the NYC Jail System J Health Care Poor Underserved.
    2015;26(2):345-57.

    Glowa-Kollisch S, Graves J, Dickey N, MacDonald R, Rosner Z, Waters A, Venters H. Data-
    Driven Human Rights: Using Dual Loyalty Trainings to Promote the Care of Vulnerable Patients
    in Jail. Health and Human Rights. Online ahead of print, 3/12/15.

    Teixeira PA1, Jordan AO, Zaller N, Shah D, Venters H. Health Outcomes for HIV-Infected
    Persons Released From the New York City Jail System With a Transitional Care-Coordination
    Plan. 2014. Am J Public Health. 2014 Dec 18.

    Selling D, Lee D, Solimo A, Venters H. A Road Not Taken: Substance Abuse Programming in
    the New York City Jail System. J Correct Health Care. 2014 Nov 17.

    Glowa-Kollisch S, Lim S, Summers C, Cohen L, Selling D, Venters H. Beyond the Bridge:
    Evaluating a Novel Mental Health Program in the New York City Jail System. Am J Public
    Health. 2014 Sep 11.

    Glowa-Kollisch S, Andrade K, Stazesky R, Teixeira P, Kaba F, MacDonald R, Rosner Z, Selling
    D, Parsons A, Venters H. Data-Driven Human Rights: Using the Electronic Health Record to
    Promote Human Rights in Jail. Health and Human Rights. 2014. Vol 16 (1): 157-165.

    MacDonald R, Rosner Z, Venters H. Case series of exercise-induced rhabdomyolysis in the New
    York City Jail System. Am J Emerg Med. 2014. Vol 32(5): 446-7.

    Bechelli M, Caudy M, Gardner T, Huber A, Mancuso D, Samuels P, Shah T, Venters H. Case
    Studies from Three States: Breaking Down Silos Between Health Care and Criminal Justice.
    Health Affairs. 2014. Vol. 3. 33(3):474-81.

    Selling D, Solimo A, Lee D, Horne K, Panove E, Venters H. Surveillance of suicidal and non-
    suicidal self-injury in the new York city jail system. J Correct Health Care. 2014. Apr:20(2).

    Kaba F, Diamond P, Haque A, MacDonald R, Venters H. Traumatic Brain Injury Among Newly
    Admitted Adolescents in the New York City Jail System. J Adolesc Health. 2014. Vol 54(5): 615-
    7.

    Monga P, Keller A, Venters H. Prevention and Punishment: Barriers to accessing health services
    for undocumented immigrants in the United States. LAWS. 2014. 3(1).

    Kaba F, Lewsi A, Glowa-Kollisch S, Hadler J, Lee D, Alper H, Selling D, MacDonald R, Solimo
    A, Parsons A, Venters H. Solitary Confinement and Risk of Self-Harm Among Jail Inmates.
    Amer J Public Health. 2014. Vol 104(3):442-7.

    MacDonald R, Parsons A, Venters H. The Triple Aims of Correctional Health:    Patient safety,
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    Population Health and Human Rights. Journal of Health Care for the Poor and Underserved.
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    Parvez FM, Katyal M, Alper H, Leibowitz R, Venters H. Female sex workers
    incarcerated in New York City jails: prevalence of sexually transmitted infections and associated
    risk behaviors. Sexually Transmitted Infections. 89:280-284. 2013.

    Brittain J, Axelrod G, Venters H. Deaths in New York City Jails: 2001 – 2009.
    Am J Public Health. 2013 103:4.

    Jordan AO, Cohen LR, Harriman G, Teixeira PA, Cruzado-Quinones J, Venters H. Transitional
    Care Coordination in New York City Jails: Facilitating Linkages to Care for People with HIV
    Returning Home from Rikers Island. AIDS Behav. Nov. 2012.

    Jaffer M, Kimura C, Venters H. Improving medical care for patients with HIV in
    New York City jails. J Correct Health Care. 2012 Jul;18(3):246-50.

    Ludwig A, Parsons, A, Cohen, L, Venters H. Injury Surveillance in the NYC Jail System, Am J
    Public Health 2012 Jun;102(6).

    Venters H, Keller, AS. Psychiatric Services. (2012) Diversion of Mentally Ill Patients from
    Court-ordered care to Immigration Detention. Epub. 4/2012.

    Venters H, Gany, F. Journal of Immigrant and Minority Health (2011) Mental Health Concerns
    Among African Immigrants. 13(4): 795-7.

    Venters H, Foote M, Keller AS. Journal of Immigrant and Minority Health. (2010) Medical
    Advocacy on Behalf of Detained Immigrants. 13(3): 625-8.

    Venters H, McNeely J, Keller AS. Health and Human Rights. (2010) HIV Screening and Care
    for Immigration Detainees. 11(2) 91-102.

    Venters H, Keller AS. Journal of Health Care for the Poor and Underserved. (2009) The
    Immigration Detention Health Plan: An Acute Care Model for a Chronic Care Population.
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    Venters H, Gany, F. Journal of Immigrant and Minority Health (2009) African Immigrant
    Health. 4/4/09.

    Venters H, Dasch-Goldberg D, Rasmussen A, Keller AS, Human Rights Quarterly (2009) Into
    the Abyss: Mortality and Morbidity among Detained Immigrant. 31 (2) 474-491.

    Venters H, The Lancet (2008) Who is Jack Bauer? 372 (9653).

    Venters H, Lainer-Vos J, Razvi A, Crawford J, Shaf’on Venable P, Drucker EM, Am J Public
    Health (2008) Bringing Health Care Advocacy to a Public Defender’s Office. 98 (11).

    Venters H, Razvi AM, Tobia MS, Drucker E. Harm Reduct J. (2006) The case of Scott Ortiz: a
    clash between criminal justice and public health. Harm Reduct J. 3:21

    Cloez-Tayarani I, Petit-Bertron AF, Venters HD, Cavaillon JM (2003) Internat. Immunol.
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    peripheral blood mononuclear cells.15,1-8.

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    KW, (2001) J. Neuroimmunol. Tumor necrosis factor(alpha) and insulin-like growth factor-I in
    the brain: is the whole greater than the sum of its parts? 119, 151-65.

    Venters HD, Dantzer R, Kelley KW, (2000) Ann. N. Y. Acad. Sci. Tumor necrosis factor-alpha
    induces neuronal death by silencing survival signals generated by the type I insulin-like growth
    factor receptor. 917, 210-20.

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    neurodegeneration: TNFalpha is a silencer of survival signals. 23, 175-80.

    Venters HD, Tang Q, Liu Q, VanHoy RW, Dantzer R, Kelley KW, (1999) Proc. Natl. Acad. Sci.
    USA. A new mechanism of neurodegeneration: A proinflammatory cytokine inhibits receptor
    signaling by a survival peptide, 96, 9879-9884.

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    muscarinic receptor by vanadium compounds. Recept. Signal. Transduct. 7, 137-142.

    Venters HD, Tang Q, Liu Q, VanHoy RW, Dantzer R, Kelley KW, (1999) Proc. Natl. Acad. Sci.
    USA. A new mechanism of neurodegeneration: A proinflammatory cytokine inhibits receptor
    signaling by a survival peptide, 96, 9879-9884.

    Venters HD, Ala TA, Frey WH 2nd , (1998) Inhibition of antagonist binding to human brain
    muscarinic receptor by vanadium compounds. Recept. Signal. Transduct. 7, 137-142.

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    Frey WH 2nd, (1997) Heme from Alzheimer's brain inhibits muscarinic receptor binding via thiyl
    radical generation. Brain. Res. 764, 93-100.

    Kjome JR, Swenson KA, Johnson MN, Bordayo EZ, Anderson LE, Klevan LC, Fraticelli AI,
    Aldrich SL, Fawcett JR, Venters HD, Ala TA, Frey WH 2nd (1997) Inhibition of antagonist and
    agonist binding to the human brain muscarinic receptor by arachidonic acid. J. Mol. Neurosci. 10,
    209-217.

                          Honors and Presentations (past 10 years)
    Invited presentation, Screening and treatment for sexually transmitted infecitons in
    justice. National Academy of Sciences Committee on Law and Justice, remote,
    September14th, 2020.

    Invited presentation, Vaccination for COVID-19 in correctional settings. National
    Academy of Sciences Committee on Law and Justice, remote, August 20th, 2020.

    Invited Presentation, Documenting Deaths in Custody, National Association for
    Civilian Oversight of Law Enforcement (NACOLE), remote, August 3rd, 2020.
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    Invited presentation, COVID-19 in correctional settings. Briefing for U.S. Senate Staff,
    sponsored by The Sentencing Project, remote, May 29, 2020

    Invited presentation, COVID-19 in correctional settings. Briefing for Long Island
    Voluntary Organizations Active in Disaster , sponsored by The Health & Welfare
    Council of Long Island, remote, May 29, 2020.

    Invited presentation, COVID-19 in correctional settings. National Academy of Sciences
    Committee on Law and Justice, remote, May 12, 2020.

    Invited presentation, COVID-19 in correctional settings. National Association of
    Counties, Justice and Public Safety Committee, remote, April 1, 2020.

    Keynote Address, Academic Correctional Health Conference, April 2020, Chapel Hill,
    North Carolina, postponed.

    TedMed Presentation, Correctional Health, Boston MA, March 15, 2020.

    Finalist, Prose Award for Literature, Social Sciences category for Life and Death in Rikers
    Island, February, 2020.

    Keynote Address, John Howard Association Annual Benefit, November 2019, Chicago IL.

    Keynote Address, Kentucky Data Forum, Foundation for a Healthy Kentucky, November 2019,
    Cincinnati Ohio.

    Oral Presentation, Dual loyalty and other human rights concerns for physicians in jails an
    prisons. Association of Correctional Physicians, Annual meeting. 10/16, Las Vegas.

    Oral Presentation, Clinical Alternatives to Punitive Segregation: Reducing self-harm for
    incarcerated patients with mental illness. American Public Health Association Annual Meeting,
    November 2015, Chicago IL.

    Oral Presentation, Analysis of Deaths in ICE Custody over 10 Years . American Public Health
    Association Annual Meeting, November 2015, Chicago IL.

    Oral Presentation, Medication Assisted Therapies for Opioid Dependence in the New York City
    Jail System. American Public Health Association Annual Meeting, November 2015, Chicago IL.

    Oral Presentation, Pathologizing Normal Human Behavior: Violence and Solitary Confinement
    in an Urban Jail. American Public Health Association Annual Meeting, November 2014, New
    Orleans, LA.

    Training, International Committee of the Red Cross and Red Crescent, Medical Director meeting
    10/15, Presentation on Human Rights and dual loyalty in correctional health.

    Paper of the Year, American Public Health Association. 2014. (Kaba F, Lewis A, Glowa-
    Kollisch S, Hadler J, Lee D, Alper H, Selling D, MacDonald R, Solimo A, Parsons A, Venters H.
    Solitary Confinement and Risk of Self-Harm Among Jail Inmates. Amer J Public Health. 2014.
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    Vol 104(3):442-7.)

    Oral Presentation, Pathologizing Normal Human Behavior: Violence and Solitary Confinement
    in an Urban Jail. American Public Health Association Annual Meeting, New Orleans LA, 2014.

    Oral Presentation, Human rights at Rikers: Dual loyalty among jail health staff. American
    Public Health Association Annual Meeting, New Orleans LA, 2014.

    Poster Presentation, Mental Health Training for Immigration Judges. American Public Health
    Association Annual Meeting, New Orleans LA, 2014.

    Distinguished Service Award; Managerial Excellence. Division of Health Care Access and
    Improvement, NYC DOHMH. 2013.

    Oral Presentation, Solitary confinement in the ICE detention system. American Public Health
    Association Annual Meeting, Boston MA, 2013.

    Oral Presentation, Self-harm and solitary confinement in the NYC jail system. American Public
    Health Association Annual Meeting, Boston MA, 2013.

    Oral Presentation, Implementing a human rights practice of medicine inside New York City
    jails. American Public Health Association Annual Meeting, Boston MA, 2013.

    Poster Presentation, Human Rights on Rikers: integrating a human rights-based framework for
    healthcare into NYC’s jail system. American Public Health Association Annual Meeting, Boston
    MA, 2013.

    Poster Presentation, Improving correctional health care: health information exchange and the
    affordable care act. American Public Health Association Annual Meeting, Boston MA, 2013.

    Oral Presentation, Management of Infectious Disease Outbreaks in a Large Jail System.
    American Public Health Association Annual Meeting, Washington DC, 2011.

    Oral Presentation, Diversion of Patients from Court Ordered Mental Health Treatment to
    Immigration Detention. American Public Health Association Annual Meeting, Washington DC,
    2011.

    Oral Presentation, Initiation of Antiretroviral Therapy for Newly Diagnosed HIV Patients in the
    NYC Jail System. American Public Health Association Annual Meeting, Washington DC, 2011.

    Oral Presentation, Medical Case Management in Jail Mental Health Units. American Public
    Health Association Annual Meeting, Washington DC, 2011.

    Oral Presentation, Injury Surveillance in New York City Jails. American Public Health
    Association Annual Meeting, Washington DC, 2011.

    Oral Presentation, Ensuring Adequate Medical Care for Detained Immigrants. Venters H, Keller
    A, American Public Health Association Annual Meeting, Denver, CO, 2010.

    Oral Presentation, HIV Testing in NYC Correctional Facilities. Venters H and Jaffer M,
    American Public Health Association, Annual Meeting, Denver, CO, 2010.
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    Oral Presentation, Medical Concerns for Detained Immigrants. Venters H, Keller A, American
    Public Health Association Annual Meeting, Philadelphia, PA, November 2009.

    Oral Presentation, Growth of Immigration Detention Around the Globe. Venters H, Keller A,
    American Public Health Association Annual Meeting, Philadelphia, PA, November 2009.

    Oral Presentation, Role of Hospital Ethics Boards in the Care of Immigration Detainees.
    Venters H, Keller A, American Public Health Association Annual Meeting, Philadelphia, PA,
    November 2009.

    Oral Presentation, Health Law and Immigration Detainees. Venters H, Keller A, American
    Public Health Association Annual Meeting, Philadelphia, PA, November 2009.

    Bro Bono Advocacy Award, Advocacy on behalf of detained immigrants. Legal Aid Society of
    New York, October 2009.

    Oral Presentation, Deaths of immigrants detained by Immigration and Customs Enforcement.
    Venters H, Rasmussen A, Keller A, American Public Health Association Annual Meeting, San
    Diego CA, October 2008.

    Poster Presentation, Death of a detained immigrant with AIDS after withholding of prophylactic
    Dapsone. Venters H, Rasmussen A, Keller A, Society of General Internal Medicine Annual
    Meeting, Pittsburgh PA, April 2008.

    Poster Presentation, Tuberculosis screening among immigrants in New York City reveals higher
    rates of positive tuberculosis tests and less health insurance among African immigrants. Society of
    General Internal Medicine Annual Meeting, Pittsburgh PA, April 2008.

    Daniel Leicht Award for Achievement in Social Medicine, Montefiore Medical Center,
    Department of Family and Social Medicine, 2007.

    Poster Presentation, Case Findings of Recent Arestees. Venters H, Deluca J, Drucker E. Society
    of General Internal Medicine Annual Meeting, Toronto Canada, April 2007.

    Poster Presentation, Bringing Primary Care to Legal Aid in the Bronx. Venters H, Deluca J,
    Drucker E. Society of General Internal Medicine Annual Meeting, Los Angeles CA, April 2006.

    Poster Presentation, A Missed Opportunity, Diagnosing Multiple Myeloma in the Elderly
    Hospital Patient. Venters H, Green E., Society of General Internal Medicine Annual Meeting,
    New Orleans LA, April 2005.


                                                 Grants: Program
 San Diego County: Review of jail best practices (COCHS), 1/2020, $90,000.

 Ryan White Part A - Prison Release Services (PRS). From HHS/HRSA to Correctional Health Services
 (NYC DOHMH), 3/1/16-2/28/17 (Renewed since 2007). Annual budget $ 2.7 million.

 Ryan White Part A - Early Intervention Services- Priority Population Testing. From HHS/HRSA to
 Correctional Health Services (NYC DOHMH), 3/1/16-2/28/18 (Renewed since 2013). Annual budget
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 $250,000.

 Comprehensive HIV Prevention. From HHS to Correctional Health Services (NYC DOHMH), 1/1/16-
 12/31/16. Annual budget $500,000.


 HIV/AIDS Initiative for Minority Men. From HHS Office of Minority Health to Correctional Health
 Services (NYC DOHMH), 9/30/14-8/31/17. Annual budget $375,000.

 SPNS Workforce Initiative, From HRSA SPNS to Correctional Health Services (NYC DOHMH), 8/1/14-
 7/31/18. Annual budget $280,000.

 SPNS Culturally Appropriate Interventions. From HRSA SPNS to Correctional Health Services (NYC
 DOHMH), 9/1/13-8/31/18. Annual budget $290,000.

 Residential substance abuse treatment. From New York State Division of Criminal Justice Services to
 Correctional Health Services (NYC DOHMH), 1/1/11-12/31/17. Annual budget $175,000.

 Community Action for Pre-Natal Care (CAPC). From NY State Department of Health AIDS Institute to
 Correctional Health Services (NYC DOHMH), 1/1/05-12/31/10. Annual budget $290,000.

 Point of Service Testing. From MAC/AIDS, Elton John and Robin Hood Foundations to Correctional
 Health Services (NYC DOHMH), 11/1/09-10/31/12. Annual budget $100,000.

 Mental Health Collaboration Grant. From USDOJ to Correctional Health Services (NYC DOHMH),
 1/1/11-9/30/13. Annual budget $250,000.

                                              Teaching
 Instructor, Health in Prisons Course, Bloomberg School of Public Health, Johns Hopkins
 University, June 2015, June 2014, April 2019.

 Instructor, Albert Einstein College of Medicine/Montefiore Social Medicine Program Yearly
 lectures on Data-driven human rights, 2007-present.

                           Other Health & Human Rights Activities
 DIGNITY Danish Institute Against Torture, Symposium with Egyptian correctional health
 staff regarding dual loyalty and data-driven human rights. Cairo Egypt, September 20-23, 2014.

 Doctors of the World, Physician evaluating survivors of torture, writing affidavits for asylum
 hearings, with testimony as needed, 7/05-11/18.

 United States Peace Corps, Guinea Worm Educator, Togo West Africa, June 1990- December
 1991.
               -Primary Project; Draconculiasis Eradication. Activities included assessing levels
                of infection in 8 rural villages and giving prevention presentations to mothers in
                Ewe and French
               -Secondary Project; Malaria Prevention.
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                                             Books
 Venters H. Life and Death in Rikers Island. Johns Hopkins University Press. 2/19.

                                      Chapters in Books
 Venters H. Mythbusting Solitary Confinement in Jail. In Solitary Confinement Effects,
 Practices, and Pathways toward Reform. Oxford University Press, 2020.

 MacDonald R. and Venters H. Correctional Health and Decarceration. In Decarceration. Ernest
 Drucker, New Press, 2017.


                       Membership in Professional Organizations
 American Public Health Association


                              Foreign Language Proficiency
 French        Proficient
 Ewe           Conversant
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                              Prior Testimony and Deposition

 Benjamin v. Horn, 75 Civ. 3073 (HB) (S.D.N.Y.) as expert for defendants, 2015

 Rodgers v. Martin 2:16-cv-00216 (U.S.D.C. N.D.Tx) as expert for plaintiffs, 10/19/17

 Fikes v. Abernathy, 2017 7:16-cv-00843-LSC (U.S.D.C. N.D.AL) as expert for plaintiffs
 10/30/17.

 Fernandez v. City of New York, 17-CV-02431 (GHW)(SN) (S.D.NY) as defendant in role as
 City Employee 4/10/18.

 Charleston v. Corizon Health INC, 17-3039 (U.S.D.C. E.D. PA) as expert for plaintiffs 4/20/18.

 Gambler v. Santa Fe County, 1:17-cv-00617 (WJ/KK) as expert for plaintiffs 7/23/18.

 Hammonds v. Dekalb County AL, CASE NO.: 4:16-cv-01558-KOB as expert for plaintiffs
 11/30/2018.

 Mathiason v. Rio Arriba County NM, No. D-117-CV-2007-00054, as expert for plaintiff 2/7/19.

 Hutchinson v. Bates et. al. AL, No. 2:17-CV-00185-WKW- GMB, as expert for plaintiff 3/27/19.

 Lewis v. East Baton Rouge Parish Prison LA, No. 3:16-CV-352-JWD-RLB, as expert for
 plaintiff 6/24/19.

 Belcher v. Lopinto, No. 2:2018cv07368 - Document 36 (E.D. La. 2019) as expert for plaintiffs
 12/5/2019.
 Imoerati v. Semple, U.S. District Court, CT. No 3:18cv01847 (RNC), as expert for plaintiffs,
 3/11/20.

 USA v. Pratt. Western Dist of PA. Criminal No. 19-213, as expert for plaintiffs (Video Hearing
 4/28/20).

 USA v. NELSON Western Dist. Of PA. No: 1:19-cr-00021-DSC, as expert for plaintiffs (Video
 Hearing 5/4/20).

 Chunn v. Edge, No: 1:20-CV-01590-RPK-RLM, as expert for plaintiffs (Video Hearing 5/12/20,
 Video Deposition 4/30/20).

 Dianthe Martinez-Brooks et al v. D. Easter, Warden No. 3:20-cv-569 (MPS), as expert for
 plaintiffs (Video deposition 6/8/20. Video Hearing 6/11/20).

 Busby v. Booner, Western District of Tennessee, No. 3:20-cv-2359-SHL, as expert for plaintiffs
 (Video hearing 7/10/20).
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                                            Fee Schedule

 Case review, reports, testimony $500/hour.
 Site visits and other travel, $2,500 per day (not including travel costs).
